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                       THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW JERSEY
                                CAMDEN VICINAGE

     In re: RIDDELL CONCUSSION
     REDUCTION LITIGATION

                                                 Civil No. 13-7585 (JBS/JS)




                           MEMORANDUM OPINION AND ORDER

         This matter is before the Court on Riddell’s1 objections to

 plaintiffs’        request    to    serve       ten    (10)     third-party      document

 subpoenas.2       Riddell     argues   the       requested          documents    are     not

 relevant     to     the   class     certification            issues    that     are    being

 addressed     in    the     first   phase    of       this    litigation.       The    Court

 recently issued its ruling on the record after the completion of

 oral argument. This Order confirms and expounds upon the Court’s

 oral     ruling     which     overruled     in        part    and     granted    in     part

 defendants’ objections.




 1 The named defendants are Riddell Sports Group, Easton-Bell
 Sports, Inc., Easton-Bell Sports, LLC, EB Sports Corporation,
 RBG Holdings Corporation and All American Sports Corporation
 d/b/a Riddell/All American. Defendants will be collectively
 referred to as “Riddell.”
 2 The subpoenas are directed to Biokinetics, NFL Enterprises,

 LLC, Dr. Elliot Pellman, Dan Kult, Mindsview Innovation, Weber
 Shandrick, Inc., Empire Green Creative, LLC, Wishbone Design
 Factory, LLC, Cohn & Wolfe and MSL Chicago.

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 Background

      This     is    a    proposed        nationwide      class    action   filed    by

 purchasers of Riddell’s Revolution football helmets from 2007 to

 present seeking the return of a “price premium” allegedly paid

 for the helmets. This is not a personal injury case. Instead,

 the case focuses on the concussion reduction capabilities of

 Riddell’s     helmets      and     defendants’        pricing,     advertising     and

 marketing of the helmets. The crux of plaintiffs’ case is that

 Riddell’s     Revolution         helmets       offered    no     greater   protection

 against concussions than other helmets and, therefore, the price

 premium     they    paid        should    be     reimbursed.      Plaintiffs     claim

 defendants’ use of the term “concussion reduction technology” or

 “CRT” was false and misleading. Defendants’ claims concerning

 concussion reduction purportedly derive from a 2002 study done

 by the University of Pittsburgh Medical Center (“UPMC”) that

 compared the concussion rates of users who used the Revolution

 helmet with those who wore “traditional helmets.” The UPMC study

 found that in some instances the Revolution helmet could reduce

 concussions by as much as 31%.

 Discussion

      1.      Procedural Background

      The    first       stage    of   the      case   involved     extensive   motion

 practice. On August 3, 2015, the Honorable Chief Judge Jerome B.

 Simandle granted in part and denied in part Riddell’s motion to

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 dismiss plaintiffs’ second amended complaint. See In re Riddell

 Concussion Reduction Litigation, 121 F. Supp. 3d 402 (D.N.J.

 2015). The Opinion set forth in clear terms the remaining claims

 in the case:

      For the reasons discussed below, the Court will grant
      in part and deny in part Defendants’ motion to
      dismiss. The Court finds that Plaintiffs’ amended
      pleading largely cures the deficiencies previously
      identified in their initial consolidated pleading. As
      detailed below, the Court will permit Plaintiffs’
      consumer fraud claims to proceed based on allegedly
      false or misleading marketing statements regarding
      “concussion reduction technology” and a 31% reduction
      in concussions for helmets not included in the UPMC
      study, including youth helmets. However, the Court
      will dismiss Plaintiffs’ consumer fraud claims to the
      extent they are based on marketing statements which
      accurately reflect the results of the UPMC study or
      based on an alleged omission. The Court will also
      dismiss Plaintiffs’ unjust enrichment and assumpsit
      claims with the exception of the Cahokia School
      District’s claim for unjust enrichment.

 Id. at 405.

      After the pleadings closed this Court undertook to manage

 discovery. As the parties know, the Court declined to formally

 bifurcate     discovery    between   class         certification       and    merits

 issues. See In re Hydrogen Peroxide Antitrust Litigation, 552

 F.3d 305, 317 (3d Cir. 2008)(the class determination generally

 involves considerations that are enmeshed in the factual and

 legal issues comprising the plaintiff’s cause of action); Bell

 v.   Lockheed    Martin     Corp.,       270      F.R.D.   186,    199        (D.N.J.

 2010)(inquiry    into     the   merits       is   appropriate     at    the    class


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 certification stage to the extent the merits overlap with the

 criteria       in    Fed.       R.     Civ.    P.    23);    see    also       In    re   Plastics

 Additives Antitrust Litigation, No. 03-2038, 2004 WL 2743591, at

 *3 (E.D. Pa. Nov. 29, 2004)(“[T]he distinction between merits-

 based discovery and class-related discovery is often blurry, if

 not spurious.”). The basis of the Court’s ruling was that more

 often        than    not     there       is     no      “bright     line”       between        class

 certification          and       merits       issues.3      Nevertheless,            despite     the

 Court’s       ruling    it       was    made    known       to   the     parties      that     “full

 blown” merits discovery is not required to certify a class.

 Plaintiffs only need sufficient merits discovery so that they

 can     adequately          prepare       and        file    their       motion       for      class

 certification. After the motion is decided plaintiffs can decide

 what else they reasonably need.

         In    order    to       facilitate          discovery      and    avoid       unnecessary

 discovery          motion       practice,      the      Court      initially         Ordered     the

 parties       to    serve       their    written        discovery        and    to    only     serve

 objections. See November 6, 2015 Order, Doc. No. 95. Thereafter,

 all   objections           to    the     parties’       interrogatories             and   document

 requests were resolved before formal answers were served. The

 3 To be sure, however, there are occasions when discrete subject
 areas may be off-limits for class certification discovery. See
 Conner v. Perdue Farms, Inc., No. 11-888 (MAS)(LHG), 2013 WL
 5977361 (D.N.J. Nov. 7, 2013)(discovery into how Perdue actually
 raised its chickens is not relevant to plaintiffs’ request for
 class certification in a case alleging Perdue misrepresented
 that it “humanely raised” chickens).

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 Court    then        entered    an    Order    approving       the      parties’       written

 discovery and barring any objections. See February 9, 2016 Order

 [Doc. No. 130]. Plaintiffs’ subpoenas are purportedly modeled

 after plaintiffs’ Court-approved document requests.4

         The    issue     now    before    the      Court     is     whether      plaintiffs’

 subpoenas are relevant to whether the proposed class should be

 certified.          Like almost all discovery issues, the resolution is

 committed       to    the     sound    discretion      of     the      Court.    See     Arnold

 Pontiac-GMC, Inc. v. General Motors Corp., 786 F.2d 564, 568 (3d

 Cir. 1986)(courts have broad discretion to manage their dockets,

 including discovery matters); Forrest v. Corzine, 757 F. Supp.2d

 473,     477        (D.N.J.    2010)(“Magistrate            Judges      are      given     wide

 discretion to manage cases and to limit discovery in appropriate

 circumstances”). Plaintiffs argue their subpoenas are necessary

 because        they      request       documents       relevant          to      the      class

 certification          requirements      they       must    meet       under       Rule     23.

 Defendants          disagree    and    contend      plaintiffs         do    not   need     the

 requested discovery to prepare their class certification motion.

         Plaintiffs’         subpoenas    are       directed       to   two     main    subject

 areas.        The     first     area     is    the     development,             testing     and

 performance of defendants’ helmets.5 (The Court will collectively


 4 Plaintiffs did not attach copies of their subpoenas to their
 opposition to Riddell’s present application.
 5 These are the subpoenas directed to Biokinetics, NFL

 Enterprises and Dr. Pellman.

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 refer to these three areas as “performance” issues.) The second

 area     is        the      advertising,            marketing        and    “messaging”     of

 defendants’ helmets.6 (The Court will collectively refer to these

 three areas as “marketing” issues.)

         2. Performance Discovery

         As    to    discovery        regarding           the   performance      of   Riddell’s

 helmets, the Court concedes Riddell makes credible arguments why

 the    requested          discovery          should      be    denied.     Nevertheless,    on

 balance plaintiffs’ arguments carry the day. First, and perhaps

 most importantly, defendants do not concede that they will not

 raise        helmet      performance          arguments,        or    contest    plaintiffs’

 performance allegations, when they oppose class certification.

 This    being       the      case,      it    is    unfair      to   deny    plaintiffs    the

 discovery       they        need   to    rebut      defendants’       arguments.7      Second,

 discovery regarding the performance of defendants’ helmets is

 relevant       to     the    commonality           and    predominance      requirements   in




 6 These are the subpoenas directed to Mindsview Innovation, Weber
 Shandrick, Empire Green Creative, Wishbone Design Factory, Cohn
 & Wolfe and MSL Chicago.
 7 The fact that Riddell may raise performance issues or they may

 challenge plaintiffs’ “merits” allegations when they oppose
 class certification distinguishes this case from Conner, supra,
 where the Court barred merits discovery as to Perdue’s actual
 chicken raising practices. In Conner, Perdue confirmed that when
 it opposed class certification it would not rely on evidence of
 its actual practices. 2013 WL 5977361, at *3. Here, when it
 comes time to oppose class certification, Riddell may contest
 plaintiffs’ allegations regarding the performance of the
 Revolution helmet.

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 Rules   23(a)(2)     and     23(b)(3).8       To    satisfy      these    requirements

 plaintiffs must show that their legal claim is capable of common

 evidence.     Franco   v.    Connecticut           General    Life     Ins.   Co.,   289

 F.R.D. 121, 130 (D.N.J. 2013). The Court expects that plaintiffs

 will want to show that defendants’ helmets perform the same way

 no   matter   the    particular       plaintiff’s         size    or     shape.9   Thus,

 performance     data       and    discovery          is      relevant       for    class

 certification purposes.10

       Besides these two reasons, there are other justifications

 favoring the requested performance discovery from third parties.

 Plaintiffs     are     not    engaged         in     a    fishing      expedition     or

 scattershot discovery. Plaintiffs are focusing their subpoenas

 on the discovery necessary to “fill in the gaps” from Riddell’s

 document/ESI production. Plaintiffs’ letter brief specifically

 cites to portions of important documents defendants produced.

 Plaintiffs make a convincing case that because of the gaps in

 Riddell’s     production      there    are     documents         relevant     to   class

 8 These two requirements are commonly analyzed together. Schwartz
 v. Avis Rent A Car System, LLC, Nos. 11-4052(JLL), 12-7300(JLL),
 2016 WL 3457160, at *4 (D.N.J. June 21, 2016).
 9 In order to assess predominance and determine whether class

 certification is appropriate, “a district court must formulate
 some prediction as to how specific issues will play out in order
 to determine whether common or individual issues predominate in
 a given case.” Hydrogen Peroxide, 552 F.3d at 311 (citation and
 quotation omitted).
 10 At this stage of the case the Court is precluded from

 addressing any merits inquiry that is not necessary to deciding
 whether the class should be certified. Hydrogen Peroxide, 552
 F.3d at 316-17.

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 certification issues that are likely to be in the hands of the

 listed third-parties.11

      Another reason why the Court rules in plaintiffs’ favor is

 because    plaintiffs         intend     to   rely       upon    expert        affidavits   or

 reports    to     support      their     class       certification         motion.       These

 experts will address, inter alia, bio-mechanical, neurological

 and marketing issues. As the parties know, the Third Circuit

 recently     held      that    expert     testimony            used   to   support       class

 certification must comply with Daubert. In re Blood Reagents

 Antitrust Litigation, 783 F.3d 183, 187 (3d Cir. 2015). (“[A]

 plaintiff    cannot       rely      on   challenged            expert    testimony,       when

 critical to class certification, to demonstrate conformity with

 Rule 23 unless plaintiff also demonstrates, and the trial court

 finds, that the expert testimony satisfies the standard set out

 in Daubert.”). Further, a district court must rigorously analyze

 the evidence used to establish class certification. Neale v.

 Volvo Cars of North America, LLC, 794 F.3d 353, 361 (3d Cir.

 2015).    This    being       the   case,     the    Court       is     inclined    to    give

 plaintiffs       the   benefit      of    the     doubt        when     they    argue    their

 experts    need     certain      discovery.         As    is    its     right,    the    Court

 anticipates Riddell will require strict compliance with Daubert.


 11 The Court makes it clear that it is not disparaging Riddell.
 Rather, given that the requested discovery goes back to 2002, it
 is understandable if some gaps exist in Riddell’s production.


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 Plaintiffs should have a fair and reasonable, but not open-

 ended, opportunity to obtain what they need for their experts.

 As   noted,    given   the     “rigorous    analysis”     required     for   class

 certification, and the Daubert standard plaintiffs have to meet,

 the Court is inclined to give plaintiffs the benefit of the

 doubt when there is a legitimate dispute as to whether requested

 discovery is relevant to class certification issues.

       Still another reason the Court favors plaintiffs is that

 the Court does not envision that plaintiffs’ subpoenas will be

 unduly extensive or burdensome. Plaintiffs’ document requests

 are focused on the discrete subject areas the Court already

 approved. After taking into consideration the proportionality

 factors in Rule 26(b)(1), including the amount at issue and the

 fact that the requested discovery is relevant to important class

 certification     requirements,      and    the    fact   that   the   requested

 discovery is not cumulative and does not appear to be unduly

 burdensome,     the    Court    concludes    the    requested    discovery     is

 proportional to plaintiffs’ needs. The Court accepts plaintiffs’

 argument that the requested discovery will fill in important

 “gaps” that presently exist in Riddell’s discovery responses.12

       3.      Marketing Discovery




 12 The Court denies plaintiffs leave to serve Dan Kult with a
 subpoena. Kult testified in another case that he has no relevant
 documents. Plaintiffs can confirm this fact if they depose Kult.

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         As to the subpoenas directed to marketing and “messaging”

 documents, the Court has no hesitation in finding these are

 relevant to class certification issues. Riddell’s marketing and

 “messaging”       is     undoubtedly         a    key    issue        in    the   case.     A

 significant part of plaintiffs’ case is premised on the New

 Jersey Consumer Fraud Act (“NJCFA”). N.J.S.A. 56:8-1 et seq.

 Pursuant to the statute, an advertisement may be actionable if

 it has the “capacity to mislead the average consumer.” Union Ink

 Co., Inc. v. AT&T Corp., 352 N.J. Super. 617, 644 (App. Div.

 2002). Further, even if an advertisement is literally true, “it

 may be actionable if the overall impression [it] create[s] … is

 misleading and deceptive to an ordinary reader.” Id. (citation

 and   quotation        omitted).     Given       this    case      law,    plaintiffs     are

 attempting    to       show   that    all    purchasers         of    Riddell’s    helmets

 received the same or similar advertisements and messaging. It

 is,   therefore,         essential     to     plaintiffs’          class    certification

 arguments that they be able to conduct discovery directed to

 these areas. Plaintiffs’ subpoenas directed to Riddell’s public

 relations, marketing, etc., firms are plainly relevant to key

 class    certification        issues.        As    noted      in     Schwartz,    2016     WL

 3457160,    at     *4,    “[i]n      cases       where   it     is    alleged     that    the

 defendant made similar misrepresentations, non-disclosures, or

 engaged in a common course of conduct, courts have found that

 conduct      to        satisfy       the         commonality         and     predominance

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 requirements.” (citing Varacallo v. Massachusetts Mut. Life Ins.

 Co., 226 F.R.D. 207, 231 (D.N.J. 2005)). This is precisely what

 plaintiffs’ marketing discovery is designed to get at.

         4.    Objections Preserved

         Although the Court is granting plaintiffs leave to serve

 their     third-party      subpoenas,     this       Order    is   entered      without

 prejudice to the third-parties’ right to object to all or part

 of the subpoenas. The Court acknowledges the designated third-

 parties      may   present   objections        to   plaintiffs’     subpoenas     that

 Riddell cannot raise. See Rule 45(d)(1)(“A party or attorney

 responsible        for   issuing   and    serving       a     subpoena    must     take

 reasonable steps to avoid imposing undue burden or expense on a

 person subject to the subpoena.”); Rule 45(d)(3)(a court for the

 district where compliance is required may quash or modify a

 subpoena     requesting      privileged    or       other    protected    matter,     or

 requiring the disclosure of a trade secret or other confidential

 research, development, or commercial information). Further, the

 required Rule 26(b)(1) proportionality analysis may be different

 when the interests of a third-party are weighed as opposed to a

 party. See Wahoo International, Inc. v. Phix Doctor, Inc., No.

 13cv1395 GPC(BLM), 2014 WL 3573400, at *2 (S.D.Ca. July 18,

 2014)(a      third-party     subpoena     issued      pursuant     to    Rule    45   is

 subject to the limitations of Rule 26). This Order makes it

 clear that the Court is merely granting plaintiffs leave to

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 serve their subpoenas. At this time the Court is not weighing in

 on   objections        the    third-parties        may       raise     to    plaintiffs’

 subpoenas.13

       Accordingly, for the foregoing reasons,

       IT   IS    HEREBY      ORDERED   this     7th    day    of     July,   2016,    that

 plaintiffs       are   granted     leave      to   serve      third-party      document

 subpoenas       directed     to   Biokinetics,        NFL    Enterprises,      LLC,   Dr.

 Elliot     Pellman,     Mindsview      Innovation,          Weber    Shandrick,      Inc.,

 Empire Green Creative, LLC, Wishbone Design Factory, LLC, Cohn &

 Wolfe and MSL Chicago. The request for leave to serve a subpoena

 directed to Dan Kult is DENIED; and it is further

       ORDERED that plaintiffs shall attach to their subpoenas or

 send to the recipients, a copy of Judge Simandle’s August 3,

 2015 Opinion and Order and a copy of this Order; and it is

 further

       ORDERED that this Order is entered without prejudice to the

 right of the third-parties served with plaintiffs’ subpoenas to

 object to all or part of the subpoenas.

                                         s/Joel Schneider
                                         JOEL SCHNEIDER
                                         United States Magistrate Judge




 13 This is especially true since the parties did not attach
 copies of plaintiffs’ subpoenas to their papers. The Court
 accepts plaintiffs’ representation that their document requests
 are modeled after the Court-approved discovery.

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